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                EXECUTIVE SESSION

                PERMANENT SELECT COMMITTEE ON INTELLIGENCE,

                U.S. HOUSE OF REPRESENTATIVES,

                WASHINGTON, D.C.




                      INTERVIEW OF:        GLENN SIMPSON




                                           Tuesday, November14,2017

                                                Washington, D.C.




                      The interview in the above matter was held in Room HVC-304, the Capitol,

                commencing at 2:13 p.m .

                       Present:   Representatives Conaway, King, Rooney, Ros-Lehtinen, Gowdy,

                Schiff, Himes, Speie r, Quigley, Swalwell, Castro, and Heck .



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                 Appearances:




                 For the PERMANENT SELECT COMMITTEE ON INTELLIGENCE:




                 For GLENN SIMPSON:



                 ROBERT F. MUSE, ESQ.

                 JOSHUA LEVY, ESQ.

                 RACHELCLATTENBURG,ESQ.




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               by the client, or did you come up with those on your own?

                      MR. SIMPSON : Generally speaking, we seek and usually receive a lot of

               leeway to develop our lines of inquiry. And typically, when you're already familiar

               with the subject and the client isn't -- and that was obviously the case

               here -- you're running the investigation .

                     . So we like to get -- we like to have a lot of freedom to pursue everything or

               the things that we think are important, because we have found from experience

               that clients, you know, generally they have something that they maybe are trying

               to do or have some preconceived notions about things, and we find that to be

               unhelpful. So I'd say, in general, we were the arch itects of the research and we

               made most of the decisions about what to look for and where to look.

                      MR. GOWDY: What was the budget for you to enjoy the freedom to

               pursue the lines of inquiry you wanted to pursue?

                      MR. SIMPSON : I don't remember being given a specific expenses budget.

               I think the fees were $50,000 a month.

                      MR. GOWDY: Flat fee, $50,000 a month?

                      MR. SIMPSON: That's right.

                      MR. GOWDY:       Plus expenses, minus expenses?

                      MR. SIMPSON : Plus expenses, yes.

                      MR. GOWDY: How did you come to know Christopher Steele?

                      MR. SIMPSON:       I met Chris in -- I left the Wall Street Journal in 2009.

               And. in my last few years at the Wall Street Journal, I had been livi ng in Belgium, in

               Brussels, and had developed a line of reporting around the former Soviet Union

               and crime and corruption in the former Soviet Union.

                      And I had written a series of articles about Vladimir Putin and a lot of


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               corruption and organized crime activities sort of making its way westward from

               Russia, and eventually started doing a lot of work on Ukraine, corruption in

               Ukraine and gas trade in Ukraine, and connections to the Russian mafia. That's

               when I first came across Paul Manafort.

                       And in any event, when I decided to leave the Journal in 2009, I had

               developed a lot of relationships with people who worked on organized crime

               issues, Russian organized crime issues, and had become known as someone who

               specialized in that. And a mutual acquaintance of ours suggested that - Ch ris

               had just left the British Government, and a mutual acquaintance of ours suggested

               that we might be able to work together or at least, you know, had a lot in common.

                      And so I don't remember the details, but we were introduced. We met.

               And, you know, it turned out w~ did, in fact, have a, you know, kind of obsessive

               interest in a pretty obscure -- what was then a pretty obscure subject. And, you

               know, this is 2009, so we've just come off of 8 years of focus in the national

               security world on al-Qa'ida, Islamic terrorism . And I had spent several years

               specializing on that.

                      And so there were very few people at that time who were interested in this

               issue, and so the small number of us tended to meet at conferences and that sort

               of thing.   So over time, Chris and I would have coffee together when I was in

               London or he was in Washington, and we would talk about various Russian

               corruption issues, organized crime, oligarchs.

                      MR. GOWDY: How did he come to work on this project?

                      MR. SIMPSON: As I said , I mean, we've done other things together. And

               over - well, at the very beginning of this project, one of the very first t hings t hat I

               focused on was Donald Trump's relationship with a convicted racketeer named


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